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Exhibit A
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gts
Master Eketric Sales Agreement

‘Shis Mamter Electric Sales Agreement (“Agreement”), together wills ull lracby inmapuisted confirmation agrecments (“Confirmation”)
relating to this Agreement, is esftered ints this $th day of March, 204M by and between Pepco Energy Services, Inc. “PRS” or “Seller” &
Delawere Corporation, ond The Ballimore Sun with ite pracipol ploce of husmess located at 501 North Calvert Sheet Raliimare, YD
21278 (“Buyer”). Both Seller and Dnyer may heminaficr he referred tn singly as “Party” or jointly as “Parties,”

Background:

This Agreement sets fort Ue terms and conditions for clectrivily des Gzunerclions cutacd ine by Buyer and Seller during the curation of
this Agrecment, if does nut oblizate (he Partles to enter into any perticular clectricity ales tmmsoctions. Each Gonsuction specie contract
between the Partica (“Contract”), under this Agrecment, will consist of (i) this Agreement, and (i) 8 written Confirmation ximmed hy both
Buyer esid Seller.

A Confirmation shail be a written document thar (i) confirms » written or oral agreement between the Partics. and (ii) is substantially in the
form of the Confirmation. The Confitreation shall, at 2 moomum, identify the price for the Electricity (“Contract Price’). the detivery
point, and the term of the Contr.

Zerms and Conditions:

1) Nature of Services. This agreemeat is based on serving 100% of the clestric usa of Buyer's facilities end the historic cleotricity usa and
load profile information provided, Seller requires that Buyer provide 9x months notice, in writing, of any material change in wege
including, but not limited to, closing part or all of the facilities covered onder this agreement, expansion of the facilitics covered under
this agreement, or v siguifiounl ules in the operation covered under this agreement. In tho event of broach of thas agrocrnent, Buyer
shall pay Soller daranges from the lee, if ony, in the market valos of the electric supply procured by Seller to mect Buyer's electricity
Tequiremente compared to the contract value if any, ae defermince] hy Seller in a commercially reasonable manner. Damages represent
arcasmahle estimate of costs tha! are difficull to ascertain, and in 110 Way ha construed or interpreted as a penalty,

2) Quality. Seiler unconditionally guarantees delivery of the electricity supply to Buycr’sdelavery point(s), sitiject only to service supply
mienuptions that would otherwise occat if Buyer continued to be suppliod by ine EDC. Seller wariasts Orsi Oo: quality uf the
electricity will be the sisue as Unil supplied by the EDC.

9) Price The Comtract, Price shall be agrecd fo by Buyer and Seller for cach specific Contact, and shall be expressed in the
Confirmation.

4) Term, This Agreement shell remain in full force and effect for one ycar from me date executed, and ftom month to month thereslier
unless termmated by cither Party with fifteen (15) days edvariee notice; provided, however, thal if onc or more Contracts are in effect,
fermmnation shall not be offective until the expiration or Iotest complotian date of such Contracts.

5) jronsmission. Transmission shall be provided by Sefler at the sume price changed by the ENC unless otherwise specified in the
firmation.

G6) Dehvery, Sac and Vefivery of elecaic gencration service will be made ta a point or points on the PIM Transmission Grid identified by
Qe: EDC for wuch doliverics (“Delivery Poia(s)"). Delivery to meters at cach specified fncility will be made by the EDC,

7) + Damapes.

a) {Seller fails to deliver to any of the Delivery Points all or pari of the electric power required by the Buyet an set forth herein for
any reason other thon Force Majeure, Buyer may purchase electric power fram its HDC or altemative supplier to cover the
amotun the Seller felled te supply for the period of such failure, Buyer agrees to use its best efforts to oltain such replarement
clectric power at a reasonable cost. Uniess Seller's [silure to deliver all of part of tha electric power required by Buyer hereunder
is excused by on cyent of Paros Majeuré, Seller shall reimburse Buyer for any cach purchsee of replacement clectziz power in a0.
amount equal ta the positiee diflcrence, if any. between the total end tn Ruyer of covesing anch prrchases (inchuting any
incidental costs such as administrative costs, brokerage fees. transenission oF increased tax costs) and the cost to Buyer had Seller
fulty performed its obligations hcreundcr. Unies Seller's failure to deliver all or part of the electric power required by Buyer
hereunder ig excused by an event of Force Majcure, Seller further ngrees to pay any penalties imposed by the EDC or other
competent authority (including, without limitation, power pool at power exchange) for auch iguture to dehver.
%)

3)

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b) Each Party shall exercise reasonable efforts to minimize such damyges.

c) In 16 event shall either Party he lishle to (he other under this Agreement or any Contract formed hereunder for any incidental,
indirect, special, punitive or consequential damages other Hum liquideted damages specified above.

Billing and Payment, Uniess otherwise specitled m the Contrmation, while receiving generation and wansmission service from Seller,
Buyer will receive an invoice fom the ENC desatbing ScDer's changes fle dhe cecticlty delivered in the pr iod, Seller’a
charges will appear ax u single line item on Dayer's EDC's bill, Buyer's local EDC will invoice Rayer for all electricity distribution
charges, incinding, without limitation, custonicr charges, distribution service cnempy and demand charges, meter’ charges, and
trensilion checgen (if any). Buyer i¢ sexponahle for prymients Buyer owes to the loca! EDC for distribution and other related ensts that
have been authorized by the State Agency. When receiving electric service from Seller, shall pay Seller the totel emoant due as
shown on the monthly billing within 30 days from the date of billing. Amy amount ant paid by such due date will be past cue and will
aecruc interest at a monthly rete of 1 .0% or madi allowable under law. Ary amount psid on post due ecegunts will first be applied
to Interest and then to principal.

Notices. All invoices, starenvents, notices and. communications mrde purauant to the Contenct shall ho made ae follows:

To Seller: Te Buyer:

Pepeo Enengy Services, Inc. The Baltiznore Sun

Attn: Contract Administrator Attn:

1300 North 17° Street 501 North Calvert Street
Suite 1600 Baltimore, MD 21278
Arlington, VA 22209

Phane: (703) 253-1800 Phone410-332-6000
Fx (703)283-1697 Px

10) Toxes. if any of Buyer's accounts are used for tax-exernpl purposes, check the “Tax Exempt" box and provide complicted exemption

certificates, Tax owed incluics soy soles, groes receipts or other lax sppropriately billable for the sale of products or services (o the
delivery pomt under tins agreement in the jurisdiction of the sale, EXempulot: fram taxation is extended only with respect to sales
covered by certificates of castuplion provided ty Seller by the Buyer cid deomed valid under the laws of the jurisdiction of the sale,
‘Taxes appropriately billed or billable in a jurindiction, including the effect caured by any changes in the tax law of tax zates during the
team of this ogreement, are the responsibility of the Bnyer and remxin a tiahility of the Royer ontil paid ta Seiler Tinhilities imposed
in this Section shall survive the termination of this Agreement. and of any Contract formed bercunder,

Check here for Tax Exempt Accounts ||
Identify Tax-Exempt account numbers on Confirmation

J1) Financial Responsibility.

8) Jn the event thot eather Yarty shall (1) make an assignment or general arrangement. for the benefix of creditors, (if) default in the
payment. or performance of any cbligation to the other Party, (iii) Ate a petition or otherwise commence a proceeding under any
benlouptcy or similer law for the protection of ereditora, or have such a proceoding commenced against it. (iv) otherwise becomo
bankrupt or insolvent; (v) besome Unshle to pay its debts as they bacame duc; or (vi) fill to give adequate assurance of its ability
to pay et otherwisn perfirm its obligations under the Contract within forty-eight (5) days of a reancnable request. by the other
Pasty, then the other Party shall have the right to cither withhokd and/or suspend deliveries, or terminate any Contracts without
Jricr notice, in addition to any and all olber rentedies available hereunder or under law. Notwithstanding the shove, in odditicn to
any and all other remodics available under each Contract and under taw, Seller may immediately suspend deliveries to Buyer
Feecacce mn thececat Ut iSujar est pid ony cneiepaned crm de Selle conder nor beiowe the second day follerteg
the date such payment is duc, Bach Party ress ves all sights lo scl-ofls, cuunterclaiues, cud ute defeuses tu which itis of may
hhecorne entitled under this Agrcoment.

b) Seller may terminate this Agreement with [0 days written notice if Buyer experiences, in Seller’s reasunable opistion. a material
adverse change in Buyer's credit, financial condition, or ongomg basiness activitics that jeopardize Seller's ability to collect
payment under this Agreement. Notwithstanding, Bayer will have 10 days from such notice to provide Seller with adequale
collateral to ensure payment in order to avoid Contract termination.

x) Selka unsy, a) addition te socking damages for any breach of this Agreement, Immediately terminate Buyer's secvice, without
further notioc if Buyor faila lo poy ony emount. duo in accorlanca with this agreement, inlle to provide required financial
apsurence or otherwise fails to folly comply with the tenuis and conditions of the Agreement, Nothwithstanding, Buyer will have
$ days to cure any such contract deficiency in order to avoid Contrect termination.

NA
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12) Rorce Sdaiewe. Forme Majeuer. ic the only exense for non-pesformance of this Agreement, Except for payment obligntions already
incurred. a Force Majeure event will, upon notice, cxovse the Parties" performance during the cvent, Foroe Majetre means any event
beyond the reasonable contro] of x Party, which prevents, in whole or in part, that Party’s performance or obligations hereunder. Force
Majeure inchadss, but is aot limited to: act of God, strike, lockout, act of the public enemy; war, blockade, riot; fre, storm, tlood;
Sreeze, explosion; and governmental restreint, Force Majeure includes Force Mejeore events of the HSC or other entity we use to
dctiver electric generation supply to Buyer and carina disruption by tes EDC, The porty claiming excuss will promptly advisc
dhe other party of such Force Majeure event and shall sock to remedy the ovotrrence.

13) Governing Law. This Agreement, and all Contracts in ewordance with this Agreement, shall be construed in accordance with the laws
of the State of Maryland, without regard to its choice of law mies,

14} Miscellaneous.

a) Buyer is responsibla for installing, maintaining and opesating all equipment required by the FDIC to receive electric service,
usiless Royer avetenis that responsiiiiity to Seller by separate agreement.

bv) This Agreement snd any Contracts hereto ehall be binding upan and imurc to the benefit of the successors, assigns, and heirs of
ttc Parties hereto. No assignment of the tights or obligations of either Party under this Agreement, or under any Contract, may be
ade without the prior wnilten consent of the other Party: such consent 1s not lo be unreasonably withbald,

c) Failure by either Party to cnforce any term or condition of this Agreement, or of any Contract hereto, shall xot constitute a waiver
of any olla v1 sulycquent enforcement bexeof,

4) If a dispute arises between the Seller and Buyer (“Partice”), the dispute shall be submitted for final and binding arbitmtion to a
single arbitrator selected by the American Arbitration Asonintion (“AAA™). The arbiiestion shall ba conducted in accordance
with the rulés and procedures of the AAA and shall take place in the city clasest to the Customer that has an office of the AAA.
The costs of the arhitration shall be shared cqually by the Parties.

c) Liability as described in Item 7 of this agreement, ia the anle and exclusive remedy and all other remedies or damages at Jaw or in
equity, except for anticipatory repudiation claims, are expressly waived, ‘Neither party will be liable for consequeniial, incidental,
ponitive exemplary or indirect dscorges, (eet profits on wary olla business iteration damages, in tort, contract or otherwise.
Indemusities and limitations of Hability are without regard fo cause, incloding a paity’s sole, joist, concunrent, sctive ot passive
negligence, but nether party will be iable for any claims revalting from the othe perty’s gross noglignnen, willfit migcvinet ar
hod faith .

f) Seller may pase through any incrementat costs anrociated with any matetial changes to the regulations which impger Sellers casts,
with 30 days notice identifving the change.

15) Contidenhattty. ‘lhe Boyer od Seller shall keep the terms and conditions of tds Agreement confidendal excep as may be required in
order to effectuate the tens of the Ayeaticut 01 to uscct dn: lawfyl requisepmats of any regulatory body having jurisdiction. All
Proprictary information fixmished to one pesty by the other herem shell bo tented on confidential and ae tha pole property of the party
providing such information and shall not be weed by the reveiving party (or any porpass not expressly authorized under this agreement.

IN WICNESS WHEREOF, the Parties hereto have caused this Agreement to be duly execued by their authorized representatives as of the

date first above written.
Fok
ayer

By: hel Gy:
“Dinecren oF Tacmunts C_, é (i

CARYN L. BACON
SENIOR VICE PRESIDENT

Pepoo Enctgy Services, inc.

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Sr

Confirmat

This serves to confirm the following Conract entered into by and between Buyer and Papeco
Energy Services, Inc. and is subject to the Master Electric Sales Agreement agreed io and

entered iniu by the parties hereto.

Date: September 8, 2004

Buyer: The Baltimore Sun

Seller: Pepco Energy Services, Inc.

PES Representative: Don Patch

Tyne of Transaction: Electric Service — Full Requirements

Point of Delivery:

The prices offered are based on serving 100% of the electric use
of Buyer’s facility, and thai the luvturic electricity use and load
profile information provided is characteristic of Buyers’ facility
use,

BGR Zone

Account Number: Type IT Account Numbers: 3234624011, 3859624019, 9517152018, 9881913369

Billing Address:

Billing:

Term of Contract and Pricing:

Option to extand-

S01 North Calvert Street
Baltimore, MD 21278

Buyer selects dual billing by cheoking here [1].

First Available meter read date (MRD) to January 2005 MED (3 6¢- JE}
Billing months)
5.388 cents per kwh 6¥-IO

Blectric Service Price is defined as the cents per kwh for
Generation and Transmission Service to the Point of Delivery.

On-Peak is the hours of ‘7:00 AM to 11:00 PM Monday through
Friday excluding NERC holidays. Off-Peak is all other hours.

PES, with mutual agreement from the Buyer, may continue electric

service to Buyer, with written notice to Buyer at any time during
the term of this Cunfirmution, if the electric service price for an

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additional four (4) Billing Months is less than the utility defauit
service rate, Standard Offer Service or Price to Conapare.

Buyer warrants that ail information contained in this Confirmation is correct and true. Seller
shall not be responsible for any incorrect information that would prevent delivery of electric
supply w Buyer.

Prices within this Confirmation are valid until 4PM on the date shown within this Confirmation.
To indicate acceptance, Buyer must sign belaw.and return to Pepco Energy Services at fax
number 703-253-1687.

Boer The Baltimore Sun Seller: Pepco Energy Services, Inc,
By: Eretagy J: " Dowet! By:
~_ SENIOR VICE PRESIDENT
Title: Dineeraf. Fr Fx tn Title:
Signature: : Signature: Cone C p_—
Date: oA; ‘efeoy Date: Saf af

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Meta A

& Energy Services

This serves as a confirmation for sale of electric service io The Balthnore Sun by Pepca Energy
Services, Inc. and is subject to the Master Electric Sales Agreament agreed to and entered into by
the parties hereto. Prices contained herein are subject to changes in market conditions prior to

acceptance.
Date:
Buyer:
Seller:

Exhibit]

September 15, 2006
‘The Baltimore Sun

Pepeo Energy Services, Inc. (FES)

PES Marketing Representative: Don Patch:

. Produc:

Contract Term:

Point of Delivery:
EDS accounts:

Billing:

Scope of Service:

Product and Pricing:

Generation and Transmission Service to the Point of Delivery

December 2006, Meter Read Date (MRD) to December 2009 6 (C-JE}

MRD.
PIM ~BGE Zone
5119920012 and 7421002563

Buyer wilt be dual tilled for each account: one bill from ths
EDC the other from PBS. PES's invoice wader this confirmation
is to be sent to:

‘Ths Baltimore Sun

501 North Calvert Street

Baltimore, MD 21278

Atta: Richard Donati, Director of Favilities
410-332-6306

100% of BUYER’s Electricity Purchase Requirements (where
Electricity Purchase Requirements is defined as facility load
minus facility generation.)

Buyer shall purchase from Seller the electric setvice to meet
100% of BUYER’s generation and transmission requirements
net of BUYER’s on-site generation. “On Peak” is defined as
7:00 am to 10:59 PM on weekdays excluding NERC holidays
and weekends. “Off Peak” is 11:00 PM to 6:59 am weekdays,
12:00 AM to 11:59 PM weekends, and 12:60 am to 11:59 PM on
NERC holidays.

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Service under this Confirmation will follow the LMP Pricing until such time that Buyer
_gélects a Fixed Price. The choice to select a fixed price is at the sole discretion of Buyer,

A. LMP Prising is described in Sections A.1 through A.7
1. Hourly On-Peak and Off-Peak load following Electric Service in any amount-

this product inchides Energy only and does not cover the cost of Transmission
Losses, Ancillary Services, Transmission Service and Installed Capacity, Por
this component, umless changed by the Buyer, Buyer shail pay Seller for the
hontly eriergy at the Day-ahead Locational Marginal Price (LMP) for the PIM
BGE zono grossed up for Distribution Energy Losses. Seller will schedule
Buyer's load in the Day-Ahead market according to the best forecast of Buyer's
requirements available to Seller. For scheduled load, the Buyer will pay the
Seller the Day-Ahead Locational Marginal Price (LIMP) for the PJM BGE zone
grossed up for Distribution Energy Losses. In any event the minimum scheduled
load under this provision will be the sum of fixed quantities of exergy to which

‘the parties have agreed pursuant to this confinmation and any subsequent

confirmations for this account. This portion of pricing shall not apply to the
purchase of any such fixed quantities of energy. For the positive difference
between Buyer's scheduled load and actual load, Buyer will pay Seller the Real-
time LMP for the PJM BGE zone grossed up for Distribution Energy Losses.
For the negative difference between Buyer's scheduled load and actual Joad,
Bayer will be credited the Real-time LMP for the PJM BGE zone grossed up for

_ Distribution Energy Losses. This portion of pricing shall apply to Buyer's entire

purchased Toad.

. Buyer shell pay Seller per MWh for all PIM Ancillary Services incurred by

Seller associated with the purchase of energy for Buyer. These charges will be
passed through to Buyer at cost, These charges are defined by PJM and include:

Transmission Losses

Regulation

Operating Reserves

PIM Scheduling, System Control ard Dispatch Services

RTO Scheduling, System Control and Dispatch Services

Reactive Supply and Voltage Control fiom Generation Sources Services

. Buyer shall pay Seller a Transmission Service charge equal to the prevailing PIM

OATT for PJM BGE Zone (reference PIM Transmission Tariff Attachment H-2
Annue]l Transmission Rates — Baltimore Gas and Hlectric Company, Item #1)

’ without any mazkup times the Buyer’s Transntission Obligation.
. Buyer shall pay Seller an Installed Capacity change equal to the Price of capacity

times Buyer’s Capacity Obligation. The Price of oapasity will be negotiated
between Buyer and Seller prior to delivery.

. APES fee of $1.25/MWh plus any amount of load curtailed under a qualified

PJM Demand Side Response program, wil! be added to the Buyer’s monthty bill.

. In accordance with PYM rules, Buyer agrees to not participate in any PIM
Demand Side Response Program directly with PJM or any Curtailment Service

Provider (CSP) without Seller's consent, and-agrees to pay any cost charged to
Seller by PYM associated with any such participation by Buyer.

ol - JS

THB

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7. Seller wil) pay Buyer the Real-time LMP minus $1.25/MWh and associated
ancillary charges for grossed up for Distribution Energy Losses for all electric
export from tie unless such export is scheduled in the day-ahead market, in such
case the day-ghead LMP minus $1.25/MWh and associated ancillary charges will
be paid to Buyer provided; however, that Seller receives suitable credit from PIM
via properly and timely delivered eSchedule for amount of such export. Seller
will take title to any such power at an LMP bus specified by Buyer prior to any
export and all expost pricing will be based upon the reconoied LMP for that bus
provided by FIM. Buyer is not obligated to export power under this agreement at
any time. Buyer represents that it meots all legal and regulatory conditions
required to enter into any export power sales as described herein.

B. Fixed Pricing is defined as a fixed price per MWh for all or 2 postion of Buyer's

‘Electric Purchase Requirements. Seller agrees that upon Buyer’s request it wiil
provide offers to sell fixed price blocks of electricity per Buyer's defined request,
Buyer has no obligation to accept such offers, To the extent that Buyer aid Seller
have agreed to any such Transantions the face value of each transaction will be added
to the cost determined in Section A.1 herein. Sefler agrees that it will, npon Buyer's
request sell, 1.2., liquidate, any fixed price black Transaction and any gain or loss on
such transaction will be charged or credited, as approprinte, to the next invoice to ths
Buyer. Furthermore, Buyer rczerves the right to solicit fixed price block offers from
other wholesale suppliers, and Seller agrees that if Buyer desires to purchase/sell
such fixed price blocks of power from another wholesale supplier that it will execute
such purchase/sale on Buyer's behalf providing that Seller has am existing
counterparty relationship with such wholesale supplier and that such wholesaia
supplier maintains suiteble credit with Seller in Selfer’s sole discretion.

Seller: Pepco Bnergy Services, Ino,
By: ¢

Name: CABYN £ RACON
Title: SENIOR VICE PRESIDENT
pa: 1/24 Jog

witeRE

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Spore Services

Exhibit #2

This serves as a confirmation for sale of elactric service to The Baltimore Sun (“Baltimore Sun")
by Pepeo Energy Services, Inc. and is subject to the Master Electric Sales Agracment agreed to
and entered into by the parties hereto. Prices contained herein are subject to changes tn market
conditions prior to acceplance.

Date: September 15, 2006

Buyer: The Baltimore Sun

Seller: Pepoo Energy Services, Inc. (PES)

PES Marketing Representative: Don Patch

Product: Energy Only

Controet Term: ° 1/1/2007 — 12/3107

Point of Delivery: PIM BGE Zone

EDC accounts: EDC accounts 5119920012 and 7421002563

Billing; . Buyer will be dual billed for the accounts listed above. Buyer

shall receive a bill on 2 caleadar month basis from Selter for the
usage of the aecount listed above for Generation and
- Transmission Service. Energy purchased under this
confirmation will be settled as degoribed herein pursuant to Trem
#1 of this Exhibit. Sellers invoice under this confirmation is to
be sent pursuant to the Master Agreement and Exhibit #1 a9

follows:
The Baltimore Sun
501 North Calvert Street
Baltimore, MD 21278
Atin: Richard Donati, Director of Facilities
410-332-6306
Scope of Service; _ Buyer's fixed quantity, fixed price Electricity Purchase.

Product and Pricitg: | —-Fixexl quantity, fixed price power to Buyer to supplement Exhibit
. _ #1 dated September 15, 2006.
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Pricing for electric service is described below for the follewing components:

1. A fixed quantity of On-Peak only block dofivered fo the PJM BGE Zone as defined
pursuant to Exhibit d 1, Electric Service in the amounts set forth below — this component
includes Bnetgy only—no Distribution Energy Losses. For the fixed quantity block only,
deficit anage will be settled against the real-time hourly energy price at the PIM BGE
Zone, no additional congestion charges are applicable.

MW aMWh
VI107 — 1251/07 3.6 $70.25 ek -TeJ

2. A fixed quantity of Off Peak only block delivered to the PJM BGE Zone as defined
pursuant to Exhibit # 1, Eiecteic Service in the amounts set forth below — this component
inolades Energy only —no Disiribution Energy Losses. For the fixed quantity block only,
deficit usage will be settled against the real-time hourly energy price at the PIM BGE
Zone, no additional congestion charges are applicable.

MW $MWh
1/9/07 — 128107 30 $70.25 oh} — 765

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Exhibit “4 .
This Exhibit sonflrins the following Agtesment anterod into by and between Buyer and Popoo Raorgy
Servioss, Inc, and is subject to the Master Rlcctric Sales Aproement agreed to andl enteted inte by the

partics hereto. ‘This Bchibit is subjoct to the tettas and conditions af the Exhibit dated September 15,

2006,
sent Date: October 12,2007 a
Seller, Pepoo Energy Services, tos, Boyer The Baltimore Sun Company
1300 North 17° Btreet $01 North Calvert Streat
Suite 1600 Baldmore, MD 21278
Arlington, VA 22209
Gontact Pon Patch Contact! Gone Travagline
Phone: (703) 843.7058 Bho: (ALN) 342-0286
Fax; (703) 253-1687 Fox. (410) 332-4947
LEinail: __dpatoluapapecenengy.com ly ___ Gano travagtine @)baMeen Cor
Type of Transaction: Generation & Trenamission Service to Point of Delivery - 100% of
Buyer's Blectricity Purchase Requirements
Accoutt sud Meter Nos.: 8115920012 and 7421002563
Point of Delivaty: BGE
Term: W1/2008 ta 12/31/2008 oK -3
Billing: Duet Biling. Buyet shall receive x bill from Seller that reflecig the All-
Tn fixed price por kilowatt hour dexctibad in. this Exhibit ondtiplied by
the nusdbor of Kilowate hours delivered during tte billing period, Buyer
will receive « separate bill from EDC for dejivary servines.
Scope of Service: 100% of Buyer's Blectricity Purchasing Regiixements
Special Provisions:

1)

Etzad Qoantity Bnerey Price. Pricing for s Fixed Quantity of Enecoy Goruloe in the sxmount of 3000
JEW por hour for the Contract Term. This component factudes energy only ot the GE Zone, Buyer
shall pay seller S0,07205/kWitker this Enonyy Service, Ef the Buyer's actual load is loss than the fixed
quantity of Energy Service, Seller shall credit Buyer’s at s rate equal to the applicable hourly Reel-
Time LIMP for sha BGE Zone,

On-Peak ia defined aa the hours between 7 a.m. ond 11 pct, inolustvo, Bagtere Prevailing Time,

‘Monday thfotigh Friday, cxcept for NERC-defined hofidays. Off-Peak is defined ag the hours between

1 p.m and 7 2m. Easter Prevailing Tinie, Monday through Friday, and all day Saturday and
Sundoy, and NERC-defined holidays,

Buyer warrauta that all inforuation contained in this Exhibit ie comect and tue. Seller shall not be
responalble for pty incoptact informssion that would prevent delivery of cleatric supply to Buyer.

RE-PIMBLK. Page 1 of 2 Briyer’s Initiale
PES MD; 1243682 Dats

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Prices within this Exhibit are valid until 49M on dhe dates sbovn within this Exbibit, ‘To indicate

_ acceptance, Buyer nrust sigh below atid return to Popag Bnorgy Services at fax sumber (703) 253-1687.

IN WITNESS WHEREOF, the Pasties henttp have catsed this Agrsoment to be duly exeouted by thelr
authotizad reprosentatives,

Seller Pepco Energy Servings, Inc. Buyer =—- Tha Baltimore Sun Company

—_— _
News —< SARYLL BACON Nowe fT EOVA GL IME
Title SENIOR VICE PRESID Te “Dypetines Ltd ras
Signature Signature r a
Date 1O/ th fora Date

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“Energy Services

Exhibit -

This Exhibit confirms the following Agreement entered into by and between Buyer and Pepco Energy
Services, Inc. and is subject to the Master Electric Sales Agreement agreed to and entered into by the
parties hereto. This Exhibit is subject to the terms and conditions of the Exhibit dated September 15,

2006. .
Date: November 13, 2008
Seller: Pepco Energy Services, Inc, ” | Buyer: The Baltimore Sun Company
1300 North 17” Street 501 North Calvert Street
Suite 1600 Baltimore, MD 21278

Contact: Don Patch

Arlington, VA 22209

Phone: (703) 543-7035

Contact: Gene Travagline
Phone: (410) 332-6286

Fax: (703) 253-1687 Fax: (410) 332-6947
Email: dpatch@pepcoenergy.com Email; Gene.travapline@baltsun.com
Type of Transaction: Generation & Transmission Service to Point of Delivery — 100% of
Buyer's Electricity Purchase Requirements
AccountandMeterNos.: 5119920012 and 7421002563
Point of Delivery: BGE
Term: 1/1/2009 to 12/31/2009 ok “3S
Billing: Dual Billing, Buyer shall receive a bill from Seller that reflects the All-
In fixed price per kilowatt hour described in this Exhibit multiplied by
the number of kilowatt hours delivered during the billing period. Buyer
will receive a separate bill from EDC for delivery services.
Scope of Service: 100% of Buyet’s Electricity Purchasing Requirements
Special Provisions:
1) nauti Pricing for a Fixed Quantity of Energy Service in the amopnt of 2,000

&KW per hour for the Contract Term. This component includes energy only at the BGE Zone. Buyer
shalf pay seller $0.07835/cWhfor this Energy Service. If the Buyer's actual load is less than the fixed
quantity of Energy Service, Seller shall credit Buyer’s at a rate equal to the applicable hourly Real-
Time LMF for the BGE Zone.

On-Peak is defined as the hours between 7 a.m. and 11 p.m, inclusive, Eastern Prevailing Time,
Monday through Friday, except for NERC-defined holidays. Off-Peak is defined as the hours between
11 p.m. and 7 a.m., Eastem Prevailing Time, Monday through Friday, and all day Saturday and
Sunday, and NERC-defined holidays.

Buyer warrants that all information contained in this Exhibit is correct and true. Seller shall not be
responsible for any incorrect information that would prevent delivery of electric supply to Buyer.

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Page | of 2 Buyer’s Initials if, /
Date
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Prices within this Exhibit are valid untill 4 PM on the dates shown within this Exhibit. To indicate
acceptance, Buyer nmst sign below and return to Pepco Energy Services at fax number (703) 253-1687.

IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly executed by their
authorized representatives. { .

Seller Pepco Energy Services, Inc, Buyer The Baltimore Sun Company
an .
Name SHES SAVACE Name (DEWE Ui LEAVAGEIOE

Title DETTE, PAI —_‘Tile Taz! phpihas

Signature Sewn Signature
Date IY Jos Date oF

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